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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION


    In re:                                                                  Chapter 11

    WELLPATH HOLDINGS, INC., et al., 1                                      Case No. 24-90533 (ARP)

                         Post-Restructuring Debtors.                        (Jointly Administered)

                                                                            Re: Docket No. 2596

         NOTICE OF (I) ENTRY OF CONFIRMATION ORDER, (II) OCCURRENCE
         OF EFFECTIVE DATE, AND (III) ADMINISTRATIVE CLAIMS BAR DATE

               PLEASE READ THIS NOTICE CAREFULLY AS IT CONTAINS BAR
                DATE AND OTHER INFORMATION THAT MAY AFFECT YOUR
                  RIGHTS TO RECEIVE DISTRIBUTIONS UNDER THE PLAN

       PLEASE TAKE NOTICE that, on May 1, 2025, the United States Bankruptcy Court for
the Southern District of Texas (the “Court”) entered the Findings of Fact, Conclusions of Law,
and Order (I) Confirming the First Amended Joint Chapter 11 Plan of Reorganization of Wellpath
Holdings, Inc. and Certain of its Debtor Affiliates and (II) Approving the Disclosure Statement on
a Final Basis [Docket No. 2596] (the “Confirmation Order”). 2

        PLEASE TAKE FURTHER NOTICE that each of the conditions precedent to the
occurrence of the Effective Date, as set forth in Article X, has been satisfied or waived in
accordance therewith, and the Plan became effective and was substantially consummated on
May 9, 2025 (the “Effective Date”). For purposes of calculating all Filing and other deadlines in
the Plan and Confirmation Order determined by reference to the Effective Date, such time periods
are deemed to have commenced on May 9, 2025.

        PLEASE TAKE FURTHER NOTICE that the Plan and its provisions (including, for the
avoidance of doubt, the documents and instruments contained in the Plan Supplement) are binding
on (i) the Post-Restructuring Debtors, (ii) Holders of Claims or Interests (irrespective of whether
such Holders of Claims or Interests (a) are Impaired or Unimpaired, (b) have, or are deemed to

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      A complete list of the Post-Restructuring Debtors (as defined in the Plan) in these chapter 11 cases may be
      obtained on the website of the Post-Restructuring Debtors’ claims and noticing agent at
      https://dm.epiq11.com/Wellpath. The Post-Restructuring Debtors’ service address for these chapter 11 cases is
      3340 Perimeter Hill Drive, Nashville, Tennessee 37211.
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      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
      Confirmation Order or the First Amended Joint Chapter 11 Plan of Reorganization of Wellpath Holdings, Inc.
      and Certain of its Debtor Affiliates (with Technical Modifications) (as modified, amended, or supplemented from
      time to time, the “Plan”), a copy of which is attached as Exhibit A to the Confirmation Order. The rules of
      interpretation set forth in Article I.B of the Plan shall apply hereto. For the avoidance of doubt, unless otherwise
      specified, all references herein to “Articles” refer to articles of the Plan.
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have, accepted or rejected the Plan, or (c) failed to vote to accept or reject the Plan),
(iii) the Liquidating Trustee, (iv) each Entity acquiring property under the Plan, (v) any other party
in interest in these chapter 11 cases, (vi) any Entity making an appearance in these chapter 11
cases, and (vii) each of the foregoing’s respective Related Parties.

        PLEASE TAKE FURTHER NOTICE that, in accordance with Article II.A and
paragraph 20 of the Confirmation Order, any and all requests for allowance or payment of
Administrative Claims that accrued on or before the Effective Date and remain unpaid (other than
Administrative Claims that are Professional Fee Claims, Restructuring Expenses, or Agent Fees),
unless otherwise expressly set forth in the Plan, must be Filed with the Claims and Solicitation
Agent and served on counsel for the Post-Restructuring Debtors on or before June 8, 2025
at 11:159 p.m. (prevailing Central Time) (the “Administrative Claims Bar Date”). Any such
request must include, at a minimum, the following: (i) the name of the Holder of the Administrative
Claim; (ii) the asserted amount of the Administrative Claim (denominated in United States
dollars); (iii) the name of the applicable Post-Restructuring Debtor that is purported to be liable
for the Administrative Claim and, if the Administrative Claim is asserted against more than one
Post- Restructuring Debtor, the name of each Post-Restructuring Debtor and the exact amount
asserted to be owed by each such Post-Restructuring Debtor; (iv) the basis of the Administrative
Claim; (v) supporting documentation for the Administrative Claim, and (vi) be written in English
or Spanish.

     UNLESS OTHERWISE ORDERED BY THE COURT, OR AS OTHERWISE
EXPRESSLY SET FORTH IN THE PLAN (SEE BELOW), HOLDERS OF
ADMINISTRATIVE CLAIMS THAT ARE REQUIRED TO, BUT DO NOT, PROPERLY
FILE AND SERVE A REQUEST FOR PAYMENT OF SUCH ADMINISTRATIVE
CLAIMS BY THE ADMINISTRATIVE CLAIMS BAR DATE SHALL BE FOREVER
BARRED,   ESTOPPED,   AND   ENJOINED   FROM    ASSERTING    SUCH
ADMINISTRATIVE CLAIMS AGAINST THE POST-RESTRUCTURING DEBTORS,
THEIR ESTATES, THE LIQUIDATING TRUST, AS APPLICABLE, OR THEIR
RESPECTIVE PROPERTY, AND SUCH ADMINISTRATIVE CLAIMS SHALL BE
DEEMED DISCHARGED AS OF THE EFFECTIVE DATE WITHOUT THE NEED FOR
ANY OBJECTION FROM POST-RESTRUCTURING DEBTORS OR THE
LIQUIDATING TRUSTEE OR ANY NOTICE TO, OR ACTION, ORDER, OR
APPROVAL OF, THE COURT OR ANY OTHER ENTITY.

        PLEASE TAKE FURTHER NOTICE that, in accordance with Article VI, distributions
shall only be made to the record Holders of Allowed Claims as of the Distribution Record Date.
All Claim transfers occurring prior to the Confirmation Date should be registered with
the Post- Restructuring Debtors. If a Claim, other than one based on a publicly traded Security, is
transferred twenty or fewer days before the Distribution Record Date, the Post-Restructuring
Debtors, the Distribution Agent, the Liquidating Trust, and each of the foregoing’s respective
Related Parties, as applicable, shall make distributions to the transferee only to the extent practical
and, in any event, only if the relevant transfer form contains an unconditional and explicit
certification and waiver of any objection to the transfer by the transferor. The foregoing parties
otherwise are entitled to recognize only those record Holders set forth in the registers (including
the lender registers) as of the Distribution Record Date.


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       PLEASE TAKE FURTHER NOTICE that, in accordance with Article II.C, no later than
45 days after the Effective Date, all applications for payment of Professional Fee Claims shall be
Filed. Distributions on account of Allowed Professional Fee Claims shall be made as soon as
reasonably practicable after such Claims become Allowed by determination of the Court.

        PLEASE TAKE FURTHER NOTICE that, substantially contemporaneously herewith,
pursuant to paragraph 30 of the Confirmation Order, the Post-Restructuring Debtors are Filing a
notice to revise the consolidated case caption of these chapter 11 cases reflecting changes to certain
of the Post-Restructuring Debtors’ legal names. Upon the Filing of such notice,
the Post- Restructuring Debtors will, and all other parties are directed to, use such updated case
caption in all further pleadings and other papers Filed in these chapter 11 cases and any adversary
proceeding commenced thereunder.

       PLEASE TAKE FURTHER NOTICE that, substantially contemporaneously herewith,
pursuant to paragraph 43 of the Confirmation Order, Reorganized Wellpath Filed and served a
notice providing that each Holder of a Claim that is or was an incarcerated individual has until
11:59 p.m. (prevailing Central Time) on July 30, 2025 (i.e., 90 days after the Confirmation
Date) to opt out from the Third-Party Release set forth in Article IX.D of the Plan.

        PLEASE TAKE FURTHER NOTICE that all documents filed in these chapter 11 cases
and other relevant case information are available free of charge on the following website
maintained by Debtors’ claims, noticing and solicitation agent, Epiq Corporate
Restructuring, LLC, in connection with these chapter 11 cases: https://dm.epiq11.com/wellpath.
Copies of any pleadings or papers filed with the Court may be obtained by visiting the Court’s
website at https://ecf.txsb.uscourts.gov in accordance with the procedures and fees set forth
therein.



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